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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MASSACHUSETTS

UNITED STATES OF AMERICA,

VS. Criminal No. 19-10335-DJC
TANMAYA KABRA,

Defendant.

 

[P SED] PROTECTIVE ORDER
as

Upon consideration of the United States’ Assented-to Motion for a Protective Order, it is
hereby ORDERED that:

1) The discovery materials produced by the government in this case (“Protected
Materials”) may be used by the defendant, defendant’s counsel, any employees or agents of
defendant’s counsel (including any paralegals, investigators, experts, secretaries, law firm staff,
vendors, and consultants retained by or otherwise assisting the attorneys representing or

performing work on behalf of the defendant) and any person assisting defendant in the defense of

 

this case and SEC v. Kabra, et al., Civil No. 19-11676-NMG (collectively, the “Kabra Actions”),
and for no other purpose and in connection with no other proceeding;

2) Defendant’s counsel and defendant will not disclose any Protected Materials
produced by the government in the process of discovery and trial of this case, directly or indirectly,
to any other person, except as provided for in, and subject to the terms of, this Order. This Order
does not prohibit the defendant, his counsel, and those assisting the defense, from sharing the

Protected Materials for the purpose of preparing witnesses or the defense of the Kabra Actions;
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3) The defendant and his counsel shall not copy or reproduce Protected Materials
except as necessary to provide copies of the material for use by an authorized person as described
above to prepare or assist in the defense of the Kabra Actions, and all such copies and
reproductions will be treated in the same manner as the original matter;

4) When providing Protected Materials to an authorized person, defendant and his
counsel must inform the authorized person that the materials are provided subject to the terms of
this Protective Order and that the authorized person must comply with the terms of this Protective
Order;

5) Defendant’s counsel will inform the defendant of the provisions of this Protective
Order, and direct him not to disclose or use any information contained in the government’s
discovery in violation of this Protective Order;

6) Nothing in this Order shall restrict the use by the defendant’s attorneys of Protected
Materials or information during investigation of the allegations and preparation of defenses or
from using or displaying Protected Materials in witness interviews, for investigative purposes, or
for the preparation of the defense of the Kabra Actions;

7) This Order shall neither restrict the defendant from seeking to introduce Protected
Materials into evidence at trial or in any pretrial or post-trial proceedings, or as attachments or
exhibits submitted to a court in connection with this criminal case, nor require that such documents
be filed under seal. With respect to the public filing or use of any Protected Materials, the parties
shall redact personally identifiable or sensitive information, including: (1) social security numbers,
(2) names of minor children, (3) dates of birth, (4) financial account numbers, (5) driver’s license

numbers and (6) email addresses and telephone numbers of third-parties unless they receive prior

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court approval. See Fed. R. Crim. P. 49.1.
Nothing contained in the Protective Order will preclude any party from applying to the
Court for further relief or for modification of any provision hereof.

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